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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION



UNITED STATES OF AMERICA                                    )
                                                            )
               v.                                           )       2:05 CR 143
                                                            )
RUDOLFO HEREDIA                                             )



                      GOVERNMENT’S REPLY TO DEFENDANT’S
                     MOTION IN OPPOSITION TO 404(b) EVIDENCE

       Comes now the United States of America, by Joseph S. Van Bokkelen, United States

Attorney for the Northern District of Indiana, and hereby files its Reply to Defendant’s

Motion in Opposition to 404(b) Evidence and in support of its response states as follows:

I.     FRE 404(b) is not Applicable to Evidence Offered Solely to Show the Victim’s State
       of Mind

       The defendant’s sole reliance on the requirements of FRE 404(b) as grounds to exclude

all of the government’s bad act evidence in misplaced. Many of the items being offered by the

government do not fit within the FRE 404(b) analysis because they are not being offered to

prove anything about the accused, but rather solely to show the state of mind of the victim.

Therefore, much of what the defense complains about is not subject to constraints of FRE

404(b). Rather, only a simple FRE 403 balancing test is required for the admissibility of this

evidence.

       The government intends to offer as testimony, the items listed in the Government’s

original 404(b) notice numbered 1 through 10. (R.16). Additionally, the Government intends to


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offer into evidence the items listed in the Government’s supplemental 404(b) notice as

follows: Under the section entitled “A. Testimony of AS,” items numbered 1-10, and under the

section entitled “B. Testimony of AM,” items numbered 1-2. All of these acts occurred prior to

the acts alleged in the indictment. All of these acts committed by the defendant were known to

the victim and caused her to fear this defendant if she ever left him. This testimony is being

offered only to show the victim’s state of mind. Therefore, FRE 404(b) is not applicable.

       The defendant attempts to minimize the application to the case at bar, the various

extortion/loansharking cases cited in the Government’s motion. While not controlling authority,

these extortion/loansharking cases provide valuable insight on the admissibility of evidence

relating to the state of mind of a crime victim.

       Very few federal statutes require the government prove the state of mind of the victim.

However, Count Two of the indictment against the defendant charges a violation of 18 U.S.C.

2261(A) and requires the Government to prove that the victim was in fear of death or serious

bodily injury. The exact same burden of proof is required in the extortion/loansharking cases. In

extortion/loansharking cases, a victim is threatened with violence if they refuse to pay a

monetary sum. In the case at bar, the victim was threatened by the defendant if she ever left him.

In both cases, the victim’s state of mind is an element of the offense.

       The defendant’s reliance on FRE 404(b) and Klein v. Vanek, 86 F.Supp 812 (N.D. Ill.

2000), is misplaced. In Klein, a §1983 action, Klein claimed that Vanek, a police officer,

battered Klein for stalking Vanek’s wife, Sue Vanek. Since Klein had not alleged any cause of

action against Sue Vanek, the court prohibited Vanek’s wife from testifying about her emotional

reaction to seeing Klein prior to the alleged assault by her husband, Vanek. Interestingly though,


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the court stated that if Vanek’s wife’s testimony would have been relevant to the issues at trial,

“the history of Klein’s prior encounters with Sue Vanek ... certainly would be frightening to any

reasonable person.” Id. at 814.

       It would be impossible to prove why the victim in this case would be in fear of death or

serious bodily injury if the government is prohibited from demonstrating to the jury the

defendant’s prior violence and threats to the victim. The evidentiary burden in the

extortion/loansharking statutes is identical to the two statutes charged in this case -- and so

should be the admissible evidence.

II.    Fre 404(b) Does Not Bar the Admission of the Remainder of the Acts Cited by the
       Government in its 404(b) Notice.


       Item 11 listed in the Government’s supplemental 404(b) states:

       “AS will testify that she was afraid of the defendant and was fed up with him. AS will
       testify that she believed the defendant was stalking her and had recently broken into her
       house. AS will testify that she had changed the locks to the apartment. However, in
       approximately July of 2005, AS’s roommate’s purse was stolen out of her residence. This
       purse contained the only other key to the lock on the residence. Testimony from Det.
       Dourghty that upon the defendant’s arrest in September, the defendant had in his
       possession the key to the new locks that AS had placed on her residence.”

The government is offering this evidence to show the defendant’s intent to stalk the victim and

his modus operandi. As previously cited by the government, these are accepted reasons for the

admission of evidence under FRE 404(b). This evidence reveals the defendant’s persistent

harassment of the victim and the defendant’s persistent intimidation of the victim. The evidence

also reveals a consistent pattern of the defendant’s means and method of making sure the victim

was not dating anyone else - - to obtain a key to her apartment so that he could break -in at

anytime he so desired. This evidence is precisely the type of evidence envisioned in FRE


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404(b).




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III.   Conclusion

       Based upon the above, the Government respectfully request that the its motion to admit

evidence of prior acts of the defendant be granted in its entirety.



                                               Respectfully submitted,

                                               JOSEPH S. VAN BOKKELEN
                                               UNITED STATES ATTORNEY


                                       By:     S/ Philip C. Benson
                                               Assistant United States Attorney
                                               Attorney # 14498-45




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                                  Certificate of Service

        I hereby certified that December 19, 2005 I electronically filed the foregoing
GOVERNMENT’S REPLY TO DEFENDANT’S MOTION IN OPPOSITION TO 404(b)
EVIDENCE with the Clerk of the Court using the CM/ECF system which sent notification of
such filing to the following:

Arlington Foley

and I hereby certify that I have mailed by United States Postal Service the document to the
following non CM/ECF participants:

NONE



                                                            S/ Philip C. Benson
                                                            Assistant United States Attorney
                                                            Attorney # 14498-45
